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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ERICSSON INC.,                                     §
TELEFONAKTIEBOLAGET LM                             §
ERICSSON,                                          §
                                                   §
                                                   §
                Plaintiffs,                        §
                                                   §
v.                                                 §   CIVIL ACTION NO. 2:20-CV-00380-JRG
                                                   §
SAMSUNG ELECTRONICS CO., LTD.,                     §
SAMSUNG ELECTRONICS AMERICA,                       §
INC., SAMSUNG RESEARCH AMERICA,                    §
                                                   §
                Defendants.                        §


                                             ORDER

       Before the Court is the Unopposed Motion for Extension of Time to Move, Answer, or

Otherwise Respond to Plaintiffs’ Amended Complaint and Waiver of Foreign Service

Requirement (the “Motion”) filed by Samsung Electronics Co., Ltd., Samsung Electronics America,

Inc., and Samsung Research America (collectively, “Defendants”). (Dkt. No. 33). In the Motion, the

Defendants request an extension of the deadline for the Defendants to move, answer, or otherwise

respond to Plaintiffs’ Amended Complaint to March 2, 2021 because Samsung Electronics Co., Ltd.,

a foreign entity, has agreed to waive service under the Hague Convention.

       Having considered the Motion, and noting that it is unopposed, the Court finds that it should

be and hereby is GRANTED. Accordingly, the deadline for Defendants to move, answer, or otherwise

respond is extended to March 2, 2021.
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  So ORDERED and SIGNED this 12th day of January, 2021.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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